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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.         CV 21-5763-JFW(JEMx)                                            Date: October 6, 2021

Title:           Yolanda Estrada -v- Volkswagen Group of America, Inc., et al.


PRESENT:
                 HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                 Shannon Reilly                               None Present
                 Courtroom Deputy                             Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

        In the Joint Notice of Settlement filed on October 4, 2021, Docket No. 40, the parties
represent that they have settled this action. As a result, the Court dismisses this action without
prejudice subject to either party reopening the action on or before November 18, 2021. The Court
will retain jurisdiction for the sole purpose of enforcing the settlement until November 18, 2021.
Thereafter, absent further order of the Court, the dismissal of this action will be with prejudice. All
dates in this action, including the trial date are vacated.

         IT IS SO ORDERED.




                                                                                  Initials of Deputy Clerk sr

(Rev. 1/14/15)
